
41 So.3d 435 (2010)
Steven YOUNG, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1185.
District Court of Appeal of Florida, Third District.
August 18, 2010.
Steven Young, in proper person.
Bill McCollum, Attorney General, for appellee.
Before WELLS, SHEPHERD, and SUAREZ, JJ.
SUAREZ, J.
We affirm the trial court's denial of Steven Young's motion styled "Motion for Production of State's Prosecutorial File Pursuant to Stat. 119.01, and 27.52." This affirmance is granted without prejudice to Young to file a motion to correct an illegal sentence pursuant to Florida Rule of Criminal Procedure 3.800.
